
PERRY, J.,
concurring in part and dissenting in part.
I concur with the majority’s decision to affirm the postconviction court’s denial of relief as it pertains to Mosley’s convictions and to deny all claims except Mosley’s *1292claim pursuant to Hurst v. Florida, -U.S. -, 136 S.Ct. 616, 193 L.Ed.2d 504 (2016), in Mosley’s petition for a writ of habeas corpus. Because I believe that Hurst v. Florida retroactively applies to all capital defendants irrespective of the date on which the defendant’s death sentence became final, I likewise concur in the majority’s determination that the United States Supreme Court’s decision both applies to Mosley and requires that we vacate his death sentence. See Asay v. State, SC16-223, 210 So.3d at 37 (Fla. Dec. 22, 2016) (Perry, J., dissenting).
However, because Florida law requires that Mosley be sentenced to life in prison as a consequence of his unconstitutional death sentence, I disagree with the majority’s decision to remand for a new penalty phase proceeding instead of remanding for imposition of a life sentence. See § 775.082(2), Fla. Stat. (2016).
As I explained fully in Hurst v. State, 202 So.3d 40, 75-76 (Fla. 2016) (Perry, J., concurring in part and dissenting in part), there is no compelling reason for this Court not to apply the plain language of section 775.082(2), Florida Statutes. Because the majority of this Court has determined that Mosley’s death sentence was unconstitutionally imposed, Mosley is entitled to the clear and unambiguous statutory remedy that the Legislature has specified:
In the event the death penalty in a capital felony is held to be unconstitutional by the Florida Supreme Court or the United States Supreme Court, the court having jurisdiction over a person previously sentenced to death for a capital felony shall cause such person to be brought before the court, and the court shall sentence such person to life imprisonment as provided in subsection (1).
See § 775.082(2), Fla. Stat. (emphasis added). The plain language of the statute does not rely on a specific amendment to the United States Constitution, nor does it refer to a specific decision by this Court or the United States Supreme Court. Further, it does not contemplate that all forms of the death penalty in all cases must be found unconstitutional. Instead, the statute uses singular articles to describe the circumstances by which the statute is to be triggered. Indeed, the statute repeatedly references a singular defendant being brought before a court for sentencing to life imprisonment. I consequently cannot agree that the statute was intended as a fail-safe mechanism for when this Court or the United States Supreme Court declared that the death penalty was categorically unconstitutional. Cf. Hurst v. State, 202 So.3d at 66.
